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                 UNITED STATES DISTRICT COURT
                            FOR THE
                MIDDLE DISTRICT OF PENNSYLVANIA

TRACIE KEEFER,                               )
                                             )
                                             )
              Plaintiff                      )
                                             ) Case No.: 3:15-cv-02424-WJN
       v.                                    )
                                             )
FRESH VIEW SOLUTIONS.,                       )
                                             )
                                             )
              Defendant                      )
                                             )

                      NOTICE OF VOLUNTARY DISMISSAL


TO THE CLERK:

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

dismisses the Complaint with prejudice.




Dated: February 26, 2016                   BY: /s/ Craig Thor Kimmel
                                           Craig Thor Kimmel, Esquire
                                           PA Attorney ID No. 57100
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                                           Attorney for Plaintiff
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                            CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of February, 2016, a true and correct copy of

the foregoing pleading served via mail to the below:


       Manny Newburger, Esq.
       Barron, Newburger & Sinsley, PLLC
       1212 Guadalupe Street
       Suite 102
       Austin, TX 78701

                                              /s/ Craig Thor Kimmel
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